       Case 2:04-cr-00128-MJP       Document 280       Filed 10/04/07    Page 1 of 3




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 5                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                                                   CASE NO. CR04-128-MJP

 9
              Plaintiff,                             SUMMARY REPORT OF U.S.
10                                                   MAGISTRATE JUDGE
                v.                                   AS TO ALLEGED VIOLATIONS
11                                                   OF SUPERVISED RELEASE
      CARL ALEXANDER HARRIS,
12
              Defendant.
13
14
15                                      INTRODUCTION

16        I conducted a hearing on alleged violations of supervised release in this case on

17   October 3, 2007. The United States was represented by Tate London. The defendant

18   was represented by Barry Flegenheimer.

19                              CONVICTION AND SENTENCE

20        Defendant had been convicted of Uttering and Possession of Counterfeit Securities

21   on or about October 29, 2007. The Honorable Marsha J. Pechman of this Court

22   sentenced Defendant to 233 days of confinement, followed by three years of supervised

23   release. The conditions of supervised release included requirements that defendant

24   comply with the standard 13 conditions.

25                                DEFENDANT'S ADMISSION

26        U.S. Probation Officer Jennifer Tien alleged that Defendant violated the

27   conditions of supervised release in the following respects:

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1-
       Case 2:04-cr-00128-MJP        Document 280       Filed 10/04/07    Page 2 of 3




 1        (1)    Failing to notify probation officer of change in residence and/or
 2               employment ten days prior to any change, on or before July 20, 2007, in
 3               violation of standard condition number six.
 4        (2)    Failing to report for urinalysis testing as instructed via the drug code-a-
 5               phone on August 1, 2007, in violation of the special condition of drug
 6               aftercare.
 7        (3)    Using marijuana and alcohol on or before August 2, 2007, in violation of
 8               standard condition number seven.
 9        (4)    Associating with a know felon without permission of the probation officer,
10               on or about August 2, 2007, in violation of standard condition number
11               eleven.
12   I advised the defendant of these charges and of his constitutional rights. Defendant
13   admitted violations 1, 2, and 3, waived any hearing as to whether they occurred, and the
14   Government has agreed to dismiss violation number 4.
15                    RECOMMENDED FINDINGS AND CONCLUSIONS
16        Based upon the foregoing, I recommend the court find that Defendant has violated
17   the conditions of his supervised release as alleged and set the matter for a disposition
18   hearing.
19        Defendant has been released on continued supervision pending a final
20   determination by the Court.
21        DATED this 4th day of October, 2007.
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25                                                   MONICA J. BENTON
                                                     United States Magistrate Judge
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2-
       Case 2:04-cr-00128-MJP      Document 280   Filed 10/04/07   Page 3 of 3




 1   cc: Sentencing Judge           :     Hon. Marsha J. Pechman
         Assistant U.S. Attorney    :     Tate London
 2       Defense Attorney           :     Barry Flegenheimer
         U. S. Probation Officer    :     Jennifer Tien
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3-
